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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,

                        Plaintiffs,

                v.                                       No. 7:16-cv-00108-O

 ALEX M. AZAR II, Secretary
 of Health and Human Services, et al.,

                        Defendants.


                DEFENDANTS’ RESPONSE TO ORDER OF THE COURT

       Defendants hereby respond to the Court’s August 7, 2019 Order, which required briefing

from the parties on whether, in light of Town of Chester, N.Y. v. Laroe Estates, Inc., __ U.S. __,

137 S. Ct. 1645 (2017), permissive intervenors who seek judicial relief different from that sought

by a party must themselves have standing. That question, as far as Defendants are aware, has not

been squarely resolved by the Supreme Court. The Court’s reasoning in Town of Chester would

seem to apply equally to permissive intervenors who seek judicial relief different from a party

with standing. See id. at 1651 (“For all relief sought, there must be a litigant with standing

. . . .”). It is far from clear based on Town of Chester, however, that a party intervening as a

defendant and seeking only to have the plaintiffs’ request for relief denied would need standing.

       Defendants also note that the Court need not rule on the putative intervenors’ motion at

this time. As Defendants have explained, the May 24, 2019 Notice of Proposed Rulemaking, if

finalized, would likely moot this case. Defendants respectfully submit that postponing ruling on

the motion to intervene would therefore promote judicial economy.
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DATED: August 12, 2019            Respectfully submitted,

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                                  /s/ Bradley P. Humphreys_____
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2019, a copy of the foregoing was filed electronically

via the Court’s ECF System, which effects service upon counsel of record.


                                                    /s/ Bradley P. Humphreys
                                                    Bradley P. Humphreys
